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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

     Plaintiffs,                          Case No. 1:18-cv-00950-LO-JFA

v.

COX COMMUNICATIONS, INC., et al.,

     Defendants.



                   MEMORANDUM IN SUPPORT OF PLAINTIFFS’
                     MOTION FOR SUMMARY JUDGMENT
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                                      CITATION GUIDE

 Declarations:

    o “Bahun Decl.” refers to the Declaration of Samuel Bahun.
    o “Blietz Decl.” refers to the Declaration of Jeremy Blietz.
    o “Frederiksen-Cross Decl.” refers to the Declaration of Barbara Frederiksen-Cross.
    o “Gould Decl.” refers to the Declaration of Jeffrey M. Gould.
    o “Gould Ex.” refers to a document filed as an Exhibit to the Gould Decl.
    o “Lehr Decl.” refers to the Declaration of William Lehr, Ph.D.
    o “Kokakis Decl.” refers to the Declaration of David Kokakis.
    o “Leak Decl.” refers to the Declaration of Wade Leak.
    o “McCabe Decl.” refers to the Declaration of George P. McCabe, Ph.D.
    o “McMullan Decl.” refers to the Declaration of Alasdair McMullan.
    o “Patel Decl.” refers to the Declaration of Anish Patel.
    o “Poltorak Decl.” refers to the Declaration of Steven Poltorak.

 Other References:

    o “Bates No.” refers to the bates number of a document produced in this case.
    o “BMG” or “BMG v. Cox” refers to the case captioned BMG Rights Mgmt. (US) LLC
      v.Cox Commc'ns, Inc., Civ. No. 14-cv-1611 (E.D. Va.).
    o “BMG ECF” refers to a document filed publicly via ECF in BMG.
    o “BMG Ex.” refers to a document used as a trial exhibit in BMG.
    o “Cox” refers to Defendants CoxCom, LLC and Cox Communications, Inc.
    o “Depo.” or “Tr.” refers to the transcript of a deposition taken in this case.
    o “ECF” refers to a document filed publicly via ECF in this case.
    o “Interr.” refers to Interrogatories.
    o “Rept.” refers to a report produced by an expert retained by any party.




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                                          INTRODUCTION

        Cox told the world that it respects copyrights and prohibits use of its Internet service for

 illegal activity, but its conduct tells a vastly different story. Discovery has starkly revealed that

 Cox’s stated copyright “policy” was a sham. In reality, Cox cared about maximizing corporate

 profits rather than meeting basic legal obligations. For years, and with knowledge of its

 subscribers’ massive infringement of Plaintiffs’ works, Cox materially assisted, and greatly

 profited from, its subscribers’ illegal conduct.

        Cox admittedly received hundreds of thousands of infringement notices from Plaintiffs

 (and even more from other copyright holders) identifying specific subscribers of its Internet

 service who were illegally copying and distributing Plaintiffs’ copyrighted works. From January

 2012 through November 26, 2014, Plaintiffs alone sent Cox 260,873 infringement notices. At all

 times, Cox had both the right and ability to stop its subscribers from using its Internet service to

 infringe. It chose not to do so. Instead, Cox deliberately operated a digital safe haven for known

 infringers, willfully blinded itself to countless specific instances of infringement, and lined its

 pockets with hundreds of millions of dollars in revenues as a result—revenues inextricably

 linked to the infringing activity.

        Plaintiffs assert claims of infringement that accrued from February 1, 2013 through

 November 26, 2014 (the “Claim Period”). During the Claim Period, Plaintiffs alone put Cox on

 notice of 163,148 specific instances of infringement on Cox’s network, involving 57,679 specific

 Cox subscribers. Cox knew the identity of each of those subscribers. Plaintiffs’ notices (all

 made under penalty of perjury) reveal that thousands of Cox subscribers were implicated in

 multiple notices. Specifically,

        •               Cox subscribers were caught infringing 3 or more times;


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          •               Cox subscribers were caught infringing 6 or more times;

          •             Cox subscribers were caught infringing 10 or more times;

          •             Cox subscribers were caught infringing 13 or more times; and

          •             Cox subscribers were caught infringing 14 or more times.

          Not a single one of those Cox subscribers sent a counter-notification pursuant to the

  Digital Millennium Copyright Act, or contacted RIAA or MarkMonitor, to dispute that they

  infringed during the Claim Period. Most egregiously, Cox was fully aware that thousands of its

  subscribers who had received multiple warnings—some of whom even had their service

  temporarily suspended under Cox’s “sham” policy—were continuing to infringe. Cox

  nonetheless continued to provide virtually all of them with the Internet access they needed to

  infringe. Indeed, Cox claims to have terminated a mere         of such repeat infringers.

          The reason for Cox’s inaction in the face of its subscribers’ massive infringement is

  simple: Cox was earning                                      as a direct result. By continuing to

  provide Internet service to the         residential subscribers who received three or more

  infringement notices from February 2013 to November 2014, Cox raked in at least

  in subscription revenues. As explained below, these repeat infringing subscribers were

  especially profitable for Cox.

          Finally, Cox concedes—as it must in light of this Court’s and the Fourth Circuit’s

  opinions in BMG v. Cox—that its shameful conduct renders it ineligible for any of the “safe

  harbor” defenses under the DMCA. Yet, in the face of uncontroverted and overwhelming

  evidence of its liability to Plaintiffs, Cox has steadfastly refused to take responsibility for its

  actions and instead raised a litany of baseless affirmative defenses—all of which are ripe for

  dismissal. Cox grasps at the irrelevant and previously excluded arguments that, somehow, its


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  copyright enforcement policy was “reasonable” and “effective.” Even if Cox’s arguments

  provided a defense to Plaintiffs’ secondary infringement liability claims (and they do not), Cox is

  wrong on both counts, as this Court’s prior rulings in BMG v. Cox established.1

         As set forth herein, along with the accompanying declarations and related documents, the

  record is clear that Cox had knowledge of its subscribers’ blatant infringement of Plaintiffs’

  works and nonetheless assisted them with it. By consciously continuing to provide Internet

  service to known infringers, while ignoring its own copyright policies as written, Cox materially

  contributed to that infringing activity, and reaped substantial financial benefits as a result.

  Accordingly, summary judgment should be granted holding Cox liable for contributory

  infringement and vicarious infringement, and the Court should reject its frivolous defenses.2

                        STATEMENT OF UNDISPUTED FACTS (“SUF”)

      A. Ownership of Plaintiffs’ Copyrighted Works

         1.      Plaintiffs are the leading record companies and music publishers in the world, and

  are the owners and stewards of the copyrighted works of the most legendary artists and

  songwriters of our time. Their businesses depend on developing this musical talent and

  protecting the sound recordings and musical compositions that these artists and songwriters

  create. See Blietz Decl. ¶¶ 1, 5; Kokakis Decl. ¶¶ 1, 4; Leak Decl. ¶¶ 1, 3-4; McMullan Decl. ¶¶

  1, 3-4; Patel Decl. ¶¶ 1, 4; and Poltorak Decl. ¶¶ 1, 3-4.




  1
   Cox’s expert opinions, including those about Cox’s supposed “reasonableness” and
  “effectiveness,” are each the subject of preclusion motions. As explained therein, Cox’s
  proposed use of its experts is palpably improper.
  2
   The Claim Period is slightly narrower for the Sony / ATV and EMI Publisher Plaintiffs, i.e.,
  August 1, 2013 through November 26, 2014. For the other plaintiffs, the Claim Period is
  February 1, 2013 through November 26, 2014.
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         2.      As a matter of corporate practice and policy, Plaintiffs protect their copyrights,

  including through registration with the U.S. Copyright Office and by entering into written

  agreements through which they own or control exclusive rights under copyright. See Blietz

  Decl. ¶ 5; Kokakis Decl. ¶ 5; Leak Decl ¶ 4; McMullan Decl. ¶ 4; Patel Decl. ¶ 4; and Poltorak

  Decl. ¶ 4.

         3.      Plaintiffs own, or have an exclusive license to, the rights under the Copyright Act

  to reproduce and distribute each of the copyrighted works identified in the Appendices to their

  respective declarations (“Plaintiffs’ Works”). See Blietz Decl. ¶¶ 5-111; Kokakis Decl. ¶¶ 5-89;

  Leak Decl. ¶¶ 4-58; McMullan Decl. ¶¶ 4-57; Patel Decl. ¶¶ 4-136; and Poltorak Decl. ¶¶ 4-39.

     B. Cox’s Users Directly Infringed Plaintiffs’ Works

         4.      In an effort to combat online piracy, the record company Plaintiffs authorized

  their trade association, the Recording Industry Association of America (“RIAA”), to conduct

  certain anti-piracy activities as to infringement on BitTorrent, Gnutella, eDonkey and Ares peer-

  to-peer (“P2P”) networks. RIAA hired MarkMonitor to identify and report instances of

  infringement on these networks. See Bahun Decl. ¶¶ 4, 7.

         5.      MarkMonitor is an anti-piracy company headquartered in San Francisco,

  California. Over half of the Fortune 100 companies, as well as over 1,300+ customers in over 50

  countries, including leaders in the technology, fashion, sports, entertainment, pharmaceuticals,

  media, automotive and healthcare industries, rely on MarkMonitor to help them protect their

  brands and content online. See Bahun Decl. ¶¶ 1-2.

         6.      Cox Communications, Inc. is a broadband communications and entertainment

  company, providing advanced digital video, highspeed Internet, telephone and home security and

  automation services over its own nationwide IP network to approximately six million residences



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  and businesses. It is the third-largest U.S. cable TV company based on revenues. CoxCom,

  LLC is a wholly owned subsidiary of Cox Communications, Inc., operates as an Internet Service

  Provider (“ISP”) with support from Cox Communications, Inc., and together they market and sell

  high-speed Internet services to consumers. Gould Ex. 1 at 2, 53; ECF No. 21 at ¶ 22.

         7.      Plaintiffs have not authorized Cox, or its subscribers, to copy or distribute any of

  Plaintiffs’ Works. See Blietz Decl. ¶ 10; Kokakis Decl. ¶ 9; Leak Decl. ¶ 10; McMullan Decl. ¶

  10; Patel Decl. ¶ 8; and Poltorak Decl. ¶ 10.

         8.      For more than a decade, MarkMonitor has searched for potentially infringing files

  being copied and distributed on peer-to-peer networks, for RIAA.

                                                                                      It then used




                   See Bahun Decl. ¶ 15; Frederiksen-Cross Decl. ¶ 30; Gould Ex. 2.

         9.      A cryptographic hash value is an alphanumerical representation of the contents of

  a file. Files with the same hash value are identical and will have the same contents. See Bahun

  Decl. ¶¶ 10-11; Frederiksen-Cross Decl. ¶ 16; Gould Ex. 3 (Feamster Tr.) at 186:13–198:03.

         10.     Prior to sending an infringement notice to Cox, MarkMonitor’s proprietary

  software



                                                           During that process, Cox subscribers

  reported, and MarkMonitor’s software recorded,

                                                  The Cox subscribers identified in MarkMonitor’s



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  notices overwhelmingly reported

                   Some of those Cox subscribers, observed by MarkMonitor on different dates

  over time, reported

                                             Thereafter, MarkMonitor would then send

  infringement notices to Cox. See Bahun Decl. ¶¶ 12-14, 16; Frederiksen-Cross Decl. ¶¶ 29, 31-

  32, 38-45; Gould Exs. 4, 3 (Feamster Tr.) at 203:13-204:07; 227:25-228:11; 273:13-274:04;

  275:11-279:16.

         11.     Examples of Cox subscribers downloading Plaintiffs’ Works

                                   For example, on two different dates in September 2014,

  MarkMonitor detected a Cox subscriber downloading one of Plaintiffs’ Works, eventually

  amassing the complete audio files. A table reflecting information regarding these detections is

  below, showing the increasing percentage of the files the Cox subscriber downloaded.




  Frederiksen-Cross Decl. ¶¶ 43-45.

         12.     Peer-to-peer networks, including BitTorrent, operate on a “tit for tat” model

  where peers generally both retrieve and supply files simultaneously. See Frederiksen-Cross

  Decl. ¶ 22; Gould Ex. 5 (Feamster Rept.) at ¶ 71, 3 (Feamster Tr.) at 198:04–201:19.

         13.     Peer-to-peer networks, including BitTorrent, are designed so that instances of

  copying files between two peers are unobservable to anyone other than those two peers. As

  such, it was impossible for MarkMonitor (or any rights holder or vendor) to observe the number


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  of times Cox subscribers downloaded and distributed confirmed infringing files. See Bahun

  Decl. ¶ 14; Frederiksen-Cross Decl. ¶ 33; Gould Ex. 6 (Tregillis Tr.) at 71:22–72:10.

         14.     From January 2012 through November 26, 2014, MarkMonitor sent Cox 260,873

  infringement notices. During the Claim Period alone, MarkMonitor sent Cox 163,148

  infringement notices. The foregoing notices were made under penalty of perjury by RIAA and

  included the elements of information required under the Digital Millennium Copyright Act, 17

  U.S.C. § 512(c)(3)(A). The notices contained, inter alia, an identification of the Cox subscriber

  by IP address, the specific date and time of the infringing act, a cryptographic hash value

  pertaining to the file, a representative sample of what was infringed, and the peer-to-peer

  network used. See Bahun Decl. ¶¶ 17-18, 21-22; Gould Exs. 7, 8 (Beck Tr.) at 45:05-23, 9.

         15.     Upon receipt of MarkMonitor’s infringement notices, Cox




                     . Cox’s records indicate that MarkMonitor’s notices in this case pertained to a

  total of 57,679 Cox subscribers: 54,886 (95%) were residential customers; and 2,793 (5%) were

  business customers. Gould Ex. 10 at ¶ 3, 11 (Stipulated Order); McCabe Decl. ¶ 8.

         16.     Each of Plaintiffs’ Works was the subject of infringement notices from

  MarkMonitor to Cox during the Claim Period. In other words, each of Plaintiffs’ Works was

  contained within the digital files identified by hash value in MarkMonitor’s infringement notices

  to Cox. The infringement notices informed Cox that the subscribers identified in those notices

  downloaded and/or distributed the infringing digital files identified in the notices. In fact, each

  of Plaintiffs’ Works was the subject of infringement notices from MarkMonitor to Cox during




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  the Claim Period regarding a subscribers’ third or later infringement notice. See McCabe Decl. ¶

  7; see also Gould Ex. 12 (Tregillis Rebuttal Rept.) at ¶ 26.3

          17.     The digital files identified by hash values in MarkMonitor’s notices of

  infringement to Cox have been produced in discovery. Anyone can listen to the audio recordings

  within those files. See Bahun Decl. ¶ 24; Gould Ex. 7, 13.

          18.     When Cox forwarded MarkMonitor’s notices to Cox’s subscribers, Cox directed

  its subscribers to

                                                    Gould Ex. 14.

          19.     None of the Cox subscribers who were the subject of MarkMonitor’s notices to

  Cox during the Claim Period provided a counter-notification to Cox to dispute the allegations of

  infringement pursuant to 17 U.S.C. § 512(g)(3). Nor did any of those Cox subscribers send an

  email to RIAA or MarkMonitor to dispute the infringement allegation. See Bahun Decl. ¶ 21;

  Gould Decl. ¶¶ 6-7.

          20.     Cox was aware not only that its subscribers were infringing but that they were

  doing so intentionally. See Gould Exs. 15-18.




  3
    As of his June 24, 2019 deposition, Cox’s expert, Christian Tregillis, had matched over 95% of
  Plaintiffs’ Works to the infringing files referenced in the infringement notices. As to the
  remaining 5%, Mr. Tregillis did not dispute Professor McCabe’s finding that there are
  corresponding infringement notices that Cox received. Rather, Mr. Tregillis simply had not yet
  made the connection or was unable to do so. Gould Ex. 6 (Tregillis Tr.) at 18:12–19:7. Under
  the more stringent “third or later” paradigm, Mr. Tregillis had matched over 90% of Plaintiffs’
  works in suit to the allegedly infringing files referenced in the infringement notices as of the date
  of his Rebuttal Report (May 15, 2019). Tregillis testified that he found additional matches after
  the date of his rebuttal report. Gould Ex. 6 (Tregillis Tr.) at 116:4-119.



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      C. Cox’s Contributory and Vicarious Liability for the Infringement

         21.     Cox subscribers required Internet access to upload and download digital files on

  the BitTorrent, Gnutella, eDonkey and Ares peer-to-peer networks. See BMG v. Cox, 149 F.

  Supp. 3d 634, 674 (E.D. Va. 2015);4 see also Bahun Decl. ¶ 8; Frederiksen-Cross Decl. ¶¶ 6-15.

         22.     Cox’s Acceptable Use Policy (“AUP”), which was a condition of use for a Cox

  subscriber to use Cox’s Internet service, prohibited subscribers from infringing anyone’s

  copyrights and prohibited subscribers from violating the law. Under the AUP, at all relevant

  times, Cox had the right to terminate its subscribers’ access to its Internet service, including the

  right to terminate service for any subscriber who uses Cox’s service to infringe copyrights. See

  BMG v. Cox, 149 F. Supp. 3d at 640; see also Gould Exs. 19-21.

         23.     The volume of copyright infringement notices that Cox received and accepted

  from copyright owners or their agents informing Cox of specific subscribers using its Internet

  service to infringe                                 :




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    Some of these Statements of Undisputed Fact cite this Court’s summary judgment decision in
  favor of BMG against Cox on Cox’s DMCA safe harbor defense and/or the Fourth Circuit’s
  affirmance of the decision. BMG v. Cox, 149 F. Supp. 3d 634 (E.D. Va. 2015), aff’d in part,
  rev’d in part, 881 F.3d 293 (4th Cir. 2018). Cox is bound by those factual determinations.
  “Collateral estoppel forecloses the religitation of issues of fact or law that are identical to issues
  which have been actually determined and necessarily decided in prior litigation in which the
  party against whom issue preclusion is asserted had a full and fair opportunity to litigate.”
  Sedlack v. Braswell Servs. Group, 134 F.3d 219, 224 (4th Cir. 1998) (internal quotations and
  citations omitted). The facts that underpin this Court’s summary judgment decision against Cox
  involve Cox’s own behavior and meet each of the elements for collateral estoppel to apply. See
  In re Microsoft Corp. Antitrust Litig., 355 F.3d 322, 326 (4th Cir. 2004) (setting forth elements).



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         25.     Prior to the fall of 2012, Cox did not follow its policy for terminating the accounts

  of repeat infringer subscribers. Instead, Cox employees followed an unwritten policy put in

  place by senior members of Cox’s abuse group whereby accounts that were used to repeatedly

  infringe copyrights would be nominally terminated—only to be reactivated upon request, and the

  subscriber would start the graduated response process all over again with a clean slate. See BMG

  v. Cox, 149 F. Supp. 3d at 655-58; see also Gould Ex. 35 (Zabek Tr.) at 137:10–140:20.

         26.     After the fall of 2012, Cox essentially stopped terminating repeat infringer

  subscribers altogether despite receiving an increasing number of infringement notices every year

  and continuing to receive infringement notices informing it of specific repeat infringing

  subscribers. See BMG v. Cox, 149 F. Supp. 3d at 658-62; see also Gould Ex. 23 at Interr. No. 8,

  35 (Zabek Tr.) at 101:14–102:15.

         27.     Throughout 2013 and 2014, Cox’s automated system for responding to

  infringement notices employed a 13-strike policy before a subscriber even would be considered

  for termination. Under that policy, Cox took no action upon receiving a first notice reporting a

  subscriber’s infringement. The second through seventh notices each resulted in CATS

  generating an email from Cox to the subscriber explaining the alleged infringement and

  including the complete text of the infringement notice Cox received from the copyright owner.

  When Cox received an eighth and ninth notice for a particular subscriber, it suspended the

  subscriber’s account and placed the subscriber in what Cox called a “soft-walled garden,”

  meaning that the subscriber’s internet access was temporarily limited to a single webpage that

  displayed a warning message. The subscriber could exit the soft-walled garden and self-

  reactivate his or her Internet service simply by clicking a link on the webpage. Upon Cox’s

  receipt of a tenth and eleventh notice, the subscriber would be placed in a “hard-walled garden,”



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  which directed the subscriber to a webpage with instructions to call Cox customer service. When

  the subscriber called Cox, he or she was reactivated upon request. The twelfth and thirteenth

  notices also resulted in subscribers being placed in a hard-walled garden, but they had to speak to

  a higher-level Cox customer service representative to be reactivated. It was only upon receipt of

  a fourteenth complaint in an abuse cycle that Cox would review the full account history of the

  subscriber and consider termination. Termination was never automatic, however, and was left to

  the discretion of Cox employees. See BMG v. Cox, 149 F. Supp. 3d at 640-41; see also Gould

  Exs. 29, 36 at ¶¶ 8-11.

          28.      Cox made every effort to avoid terminating subscribers, even those that were the

  subject of fourteen or more infringement notices. Despite having a repeat infringer policy in

  concept, Cox’s implementation of the policy, or lack thereof, rendered the policy an “absolute

  mirage.” Cox very clearly determined not to terminate subscribers who in fact repeatedly

  violated Cox’s policy. See BMG v. Cox, 149 F. Supp. 3d at 658-62; see also Gould Exs. 23 at

  Interr. No. 8, 25.

          29.      In 2013 and 2014, Cox terminated approximately              residential subscribers

  for non-payment of subscription fees. See Gould Exs. 37-38. Yet, in that same time frame, Cox

  claims to have terminated only       subscribers for copyright infringement. See Gould Ex. 23 at

  Interr. No. 8.

          30.      During the Claim Period, which is slightly narrower than the full 2013 and 2014

  calendar years, Cox accepted               copyright infringement notices, but sent only

  warnings to subscribers, and terminated only       subscribers’ accounts (        ). See Gould Exs.

  23 at Interr. No. 8, 24 at Interr. No. 5, 25.




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          31.         Despite receiving MarkMonitor’s infringement notices reporting specific Cox

  subscribers who were engaging in repeated infringement, Cox virtually always continued to

  provide those subscribers with Internet access. Of the 57,679 Cox subscribers who were the

  subject of MarkMonitor’s notices during the Claim Period, Cox’s records reflect that from 2012-

  2014:

                a)           subscribers appeared in 3 or more notices;

                b)           subscribers appeared in 6 or more notices;

                c)          subscribers appeared in 10 or more notices;

                d)          subscribers appeared in 13 or more notices;

                e)          subscribers appeared in 14 or more notices; and

                f) Cox terminated only        of those subscribers’ accounts.

  See McCabe Decl. ¶ 9; see also Gould Ex. 39.

          32.         During the Claim Period, Cox also received infringement notices from other

  rights owners concerning thousands of the same Cox subscribers identified in MarkMonitor’s

  infringement notices. At least                      of the same Cox subscribers in MarkMonitor’s

  notices were the subject of at least one infringement notice from another copyright owner during

  the Claim Period. See McCabe Decl. ¶ 8; see also Gould Ex. 39.

          33.         By way of example, the following residential Cox subscribers, identified by their

  ICOMS IDs, were the subject of

                     , including during the Claim Period.



                                                                          .




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           46.     It is Plaintiffs’ general practice to publish their sound recordings with copyright

  notices in the form and position set forth 17 U.SC. § 402(b) and (c). See Leak Decl. ¶ 8,

  McMullan Decl. ¶ 8, and Poltorak Decl. ¶ 8.

           47.     At all relevant times, including but not limited to when Cox received infringement

  notices from Plaintiffs, Cox had access to published copies of Plaintiffs’ Works. Plaintiffs’

  Works have been made widely available on authorized Internet-based digital music services. See

  Blietz Decl. ¶ 7; Kokakis Decl. ¶ 4; Leak Decl. ¶ 8; McMullan Decl. ¶ 8; Patel Decl. ¶ 6; and

  Poltorak Decl. ¶ 8.

                                              ARGUMENT

     I.          THE LEGAL STANDARD

           A party may move for summary judgment as to a “part of each claim or defense.” Fed. R.

  Civ. P. 56(a). “The court shall grant summary judgment if the movant shows that there is no

  genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

  Fed. R. Civ. P. 56(a). The moving party must make a showing “sufficient to establish the existence

  of an element essential to that party’s case, and on which that party will bear the burden of proof

  at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The burden then shifts to the non-

  movant to “come forward with specific facts showing there is a genuine issue for trial.” Matsushita

  Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

     II.         PLAINTIFFS OWN OR CONTROL EXCLUSIVE RIGHTS UNDER
                 COPYRIGHT FOR EACH OF PLAINTIFFS’ WORKS

           A plaintiff may sue for copyright infringement if it is the “legal or beneficial owner” of the

  exclusive right (or rights) alleged to have been infringed in the pertinent work. 17 U.S.C. § 501(b);

  see also X-It Products, L.L.C. v. Walter Kidde Portable Equipment, Inc., 155 F. Supp. 2d 577, 603

  (E.D. Va. 2001) (The “copyright owner, or the owner of exclusive rights under the copyright . . .

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  has standing to bring an action for infringement of those rights.”). Copyright registrations are

  “prima facie evidence” of “the facts stated in the certificate.” 17 U.S.C. § 410(c). That includes

  ownership. See Universal Furniture Int’l, Inc. v. Collozione Europa USA, Inc., 618 F.3d 417, 428

  (4th Cir. 2010) (“A certificate of registration issued by the Copyright Office is ‘prima evidence of

  the validity of the copyright and of the facts stated in the certificate’ such as ownership.”) (quoting

  17 U.S.C. § 410(c)). If a plaintiff possesses a copyright registration certificate, ‘the only evidence

  required of the plaintiff to establish prima facie ownership . . . is evidence of plaintiff’s chain of

  title from the original copyright registrant.’” Montgomery County Assoc. of Realtors, Inc. v. Realty

  Photo Master Corp., 878 F. Supp. 804, 809-10 (D. Md. 1995) (quoting 3 Melville B. Nimmer and

  David Nimmer, Nimmer on Copyright § 13.01[A] (1993)).

         Plaintiffs have proven that they own or control the exclusive rights under copyright for

  each of Plaintiffs’ Works. Plaintiffs have produced either the registration certificate or,

  alternatively, a print-out of the registration information from the Copyright Office’s official public

  catalog. SUF ¶¶ 2-3.6 For the majority of Plaintiffs’ Works, the registration lists a Plaintiff as a

  named claimant. Id. As to the rest of Plaintiffs’ Works, the copyright registration lists a

  predecessor of a named Plaintiff as the claimant, or Plaintiffs purchased or otherwise acquired

  their rights from a third party or foreign affiliate. SUF ¶¶ 2-3. Accordingly, Plaintiffs’ prima facie

  ownership of these works in suit has been established. See BMG v. Cox, 149 F. Supp. 3d at 644-



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     The Court may sua sponte take judicial notice of copyright registration information available
  on the U.S. Copyright Office’s public catalog, and “must take judicial notice if a party requests it
  and the court is supplied with the necessary information.” Fed. R. Evid. 201(c); BMG v. Cox,
  149 F. Supp. 3d at 646 and n.5 (E.D. Va. 2015), aff’d in part, rev’d in part, 881 F.3d 293 (4th
  Cir. 2018) (taking judicial notice of Copyright Office public catalog entries demonstrating
  registration and citing cases). Plaintiffs’ Motion Requesting Judicial Notice is filed
  contemporaneously with this motion for summary judgment; the relevant documents are exhibits
  to Plaintiffs’ declarations.

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  53. It is now Cox’s burden to overcome that presumption and submit evidence sufficient to raise

  a genuine triable issue. Matsushita, 475 U.S. at 586.

            Plaintiffs served Requests for Admission on Cox to identify the specific works, if any, for

  which Cox disputes ownership. Cox refused to respond to Plaintiffs, claiming undue burden and

  insufficient information to determine whether any of the works in suit were registered with the

  U.S. Copyright Office or whether Plaintiffs are the owners or exclusive licensees of such works.

  Cox failed even to admit that Plaintiffs own those works where Plaintiffs are identified as the

  claimant on the registration. See Gould Decl. ¶ 8 & Ex. 72.

            Cox cannot stave off summary judgment on the issue of ownership with bald denials,

  conjecture or hypothetical argument; rather, it must present credible evidence on a work-by-work

  basis sufficient to show some genuine issue for trial as to that particular work. BMG v. Cox, 149

  F. Supp. 3d at 645. Cox cannot meet its burden, as Plaintiffs own or exclusively control all the

  works in suit.

     III.      COX USERS DIRECTLY INFRINGED PLAINTIFFS’ WORKS

            Downloading and distributing copyrighted music via online peer-to-peer networks

  constitute direct copyright infringement, violating the exclusive rights of reproduction and

  distribution, respectively. Metro–Goldwyn–Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913,

  918–23 (2005) (noting that P2P networks facilitate a staggering quantity of infringement of

  copyrighted music); BMG v. Cox, 199 F. Supp. 3d 958, 963 (E.D. Va. 2016) (same). In the

  Claim Period, MarkMonitor sent 163,148 infringement notices to Cox, which included, inter

  alia, an identification of the Cox subscriber by IP address, the specific date and time of the

  infringing act, a cryptographic hash value pertaining to the infringing file, a representative

  sample of what was infringed, and the particular P2P file sharing network used. SUF ¶ 9. None



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  of the Cox subscribers identified in MarkMonitor’s infringement notices to Cox disputed the

  allegations of infringement to RIAA or MarkMonitor, nor did any subscriber file a counter-

  notification pursuant to the DMCA. SUF ¶¶ 19-20.

         MarkMonitor is a well-established anti-piracy company that has been retained by half of

  the Fortune 100, as well as market leaders in a variety of industries. SUF ¶ 5. When

  MarkMonitor first encountered a suspected infringing file on a peer-to-peer network,



                                                                                            SUF ¶ 8.

         For over a decade, courts have recognized the use of the Audible Magic software as a

  proper method to identify the content of an audio file as a specific copyrighted work. See e.g.,

  UMG Recordings, Inc. v. Shelter Capital Partners LLC, 718 F.3d 1006, 1012 (9th Cir. 2013)

  (“AudibleMagic’s technology takes audio ‘fingerprints’ from video files and compares them to a

  database of copyrighted content provided by copyright holders.”); Capitol Records, LLC v.

  Escape Media Grp., Inc., No. 12-cv-6646 (AJN), 2015 WL 1402049, at *23 (S.D.N.Y. Mar. 25,

  2015); Arista Records LLC v. Myxer Inc., No. 08 Civ 03935 (GAF) (JCX), 2011 WL 11660773,

  at *5 (C.D. Cal. Apr. 1, 2011); Arista Records LLC v. Lime Wire LLC, No. 06 Civ. 05936

  (KMW), 2010 WL 10031251, at *6 (S.D.N.Y. Aug. 9, 2010); Metro–Goldwyn– Mayer Studios,

  Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1205–06 (C.D. Cal. 2007).



                                                                            SUF ¶¶ 8-10. It is

  undisputed by all of the technical experts in this case—including Cox’s own expert, Dr.

  Feamster—that use of cryptographic hash values is a reliable means for determining that one file

  is an exact copy of another; i.e., that two files with the same hash value will invariably have the



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  same contents. SUF ¶ 9. In discovery, Plaintiffs provided Cox with a hard drive containing the

  infringing audio files that Cox subscribers downloaded and distributed,

                                  . SUF ¶ 18. Cox and its experts have not come forward with

  any evidence of inaccuracies in Audible Magic’s identification of the downloaded audio files.

         MarkMonitor detected Cox subscribers using Cox’s Internet service to engage in

  unauthorized copying (downloading) and/or distribution (uploading) of Plaintiffs’ Works on

  peer-to-peer networks. Prior to sending an infringement notice to Cox, MarkMonitor




                         . SUF ¶ 10.

         MarkMonitor monitored Cox subscribers on the peer-to-peer network at various stages of

  downloading. At times, Cox subscribers possessed less than 100% of a confirmed infringing file

  while in the process of downloading the remainder of the file. SUF ¶¶ 10-11. In other instances,

  the evidence shows

                                                                . SUF ¶¶ 10-11.7 The foregoing is

  conclusive proof that Cox subscribers directly infringed by making unauthorized reproductions

  of Plaintiffs’ Works. Accordingly, Plaintiffs should be granted summary judgment that Cox




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   By way of example, the following chart, see SUF ¶ 10, shows a Cox subscriber engaged in
  unauthorized downloading:




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  subscribers directly infringed Plaintiffs’ Works in violation of the exclusive right of

  reproduction.

         Cox subscribers also engaged in unauthorized distribution (uploading) of Plaintiffs’

  Works. This fact is unsurprising given the nature of P2P protocols. Cox’s own computer

  science expert confirmed, “[a] client cannot retrieve pieces without providing pieces to others –

  this is the so-called ‘tit for tat’ incentive model of BitTorrent” and even further admitted that

  “[i]n the BitTorrent protocol, any participating peer will generally be downloading or retrieving

  pieces of the file as well as providing – if you want to use the term uploading, that’s fine.” SUF

  ¶ 12. MarkMonitor detected the Cox subscribers online, running the P2P software, and

  “sharing” an unauthorized copy of Plaintiffs’ Works. SUF ¶ 10. The foregoing satisfies the

  requirements for proving an unauthorized distribution.

          It is undisputed that P2P networks were designed to make it impossible for anyone to

  collect records depicting how many times a peer distributes the infringing file. SUF ¶ 13.

  Interactions between two peers on a P2P network are unobservable to, and intentionally hidden

  from, anyone other than those two peers. SUF ¶ 13. Neither Cox nor anyone else maintains logs

  of the infringing files that Cox subscribers distribute, nor does Fourth Circuit law require such

  information.

         The Fourth Circuit decision in Hotaling v. Church of Jesus Christ of Latter-Day Saints,

  118 F. 3d 199 (4th Cir. 1997), is instructive in that regard. In Hotaling, a publicly accessible

  library added copyrighted materials to its collection, listed the works in its catalog system, and

  made them available to the public. Id. at 201-02. The Fourth Circuit held that the library

  infringed Hotaling’s distribution rights because a distribution occurs where the defendant

  “makes the work available” and “has completed all the steps necessary for distribution to the



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  public[,]” without the need to show more—otherwise “a copyright holder would be prejudiced

  by a [defendant] that does not keep records of public use” and the [defendant] would unjustly

  profit.” Id. at 203; accord A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1014 (9th Cir.

  2001) (“Napster users who upload file names to the search index for others to copy violate

  plaintiffs’ distribution rights.”). Hotaling applies here. Its logic applies equally to infringement

  in the digital environment.

         This Court has expressed that “Hotaling did not announce a rule of general applicability,

  but instead articulated a principle that applies only in cases where it is impossible for a copyright

  owner to produce proof of actual distribution.” BMG v. Cox, 149 F. Supp. 3d at 666-70

  (concluding direct infringement of the distribution right requires showing an “actual

  dissemination” and that circumstantial evidence can suffice). The facts here fall squarely within

  this Court’s reading of Hotaling, as direct proof of actual dissemination is unobtainable.

  Because of the decentralized nature of a peer-to-peer network, it is impossible for MarkMonitor,

  or any other peer on the network, to track a peer’s activity with other peers. This is true because

  any particular peer can only see the activity it is engaged in, not the activity that is occurring

  between other peers. SUF ¶ 13. Thus, based on all the evidence, Plaintiffs should be granted

  summary judgment that Cox subscribers directly infringed Plaintiffs’ Works in violation of the

  exclusive distribution right.8



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    Guidance from the Fourth Circuit and U.S. Supreme Court provides further support. First, the
  Fourth Circuit has clarified that “summary judgment does not require ignoring logic or common
  sense to favor the nonmoving party.” News & Observer Publ’g Co. v. Raleigh–Durham Airport
  Auth., 597 F.3d 570, 580 n.7 (4th Cir. 2010) (citing Nat'l Amusements, Inc. v. Town of Dedham,
  43 F.3d 731, 743 (1st Cir. 1995) (“While the summary judgment mantra requires us to draw
  every reasonable inference in favor of the nonmoving party, inferences, to qualify, must flow
  rationally from the underlying facts; that is, a suggested inference must ascend to what common
  sense and human experience indicates is an acceptable level of probability.”)). Second,

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     IV.      COX IS LIABLE FOR CONTRIBUTORY INFRINGEMENT

           Cox’s conduct renders it liable for contributory copyright infringement. A contributory

  infringer is one who, (1) “with knowledge of the infringing activity,” (2) “induces, causes or

  materially contributes to the infringing conduct of another.” CoStar Grp., Inc. v. LoopNet, Inc.,

  373 F.3d 544, 550 (4th Cir. 2004) (quoting Gershwin Publ’g Corp. v. Columbia Artists Mgmt.,

  Inc., 443 F.2d 1159, 1162 (2d Cir. 1971)). It is undisputed here that Cox had knowledge of the

  identities of specific Cox subscribers who were infringing Plaintiffs’ Works, and Cox materially

  contributed to their infringing conduct by continuing to provide them with the Internet service

  that was indispensable to their infringement.

     A. Cox’s Knowledge

           The Fourth Circuit held that the knowledge standard for contributory infringement

  “requires a defendant to have specific enough knowledge of infringement that the defendant

  could do something about it.” BMG v. Cox, 881 F.3d at 311-12 (emphasis in original). That is,

  “knowledge that infringement is substantially certain to result from Cox’s continued provision of

  Internet access to particular subscribers.” Id. In this case, Cox both (1) had actual knowledge of

  ongoing infringement by specific Cox subscribers, and (2) intentionally blinded itself to the full

  extent of the ongoing infringement.




  consistent with Hotaling, the U.S. Supreme Court has indicated that courts focus on the practical
  realities of the situation. American Broadcasting Companies, Inc. v. Aereo, Inc., 573 U.S. 431,
  450 (2014) (“Insofar as there are differences, those differences concern not the nature of the
  service that Aereo provides so much as the technical manner in which it provides the service.
  We conclude that those differences are not adequate to place Aereo’s activities outside the scope
  of the Act.”).

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             1. Cox Had Actual Knowledge of Specific Instances of Infringement

           Cox cannot contend that it lacked knowledge sufficient for contributory liability. This

  Court has already found: “[d]espite Cox’s arguments to the contrary, DMCA-compliant notices

  are evidence of knowledge.” BMG v. Cox, 149 F. Supp. 3d at 671 (emphasis added). As

  explained below, Cox had an abundance of knowledge of the specific instances of the

  infringement of its subscribers. Particular infringing subscribers were repeatedly identified in

  hundreds of thousands of infringement notices from MarkMonitor, among many others. SUF ¶¶

  14-15, 32-36.

         The infringement notices that Cox received from MarkMonitor provided detailed

  information which included, inter alia, identification of specific Cox subscribers, their IP

  address, a date and time stamp of the infringing conduct, and the hash value pertaining to the

  underlying infringing file. SUF ¶ 14. Upon receipt of these DMCA-compliant infringement

  notices, Cox was able to identify the particular subscriber at issue. SUF ¶ 15. Cox



                                                  . SUF ¶ 15. Cox received notices from

  MarkMonitor time and again identifying specific subscribers engaged in infringement, including

  some subscribers caught infringing and identified in infringement notices dozens or more times.

  SUF ¶¶ 14-15, 32-36.

         These notices indisputably established Cox’s actual knowledge of infringement by Cox

  subscribers. Id.; see also Corbis Corp. v. Amazon.com, Inc., 351 F. Supp. 2d 1090, 1107 (W.D.

  Wash. 2004), rev’d on other grounds, 606 F.3d 312 (9th Cir. 2010) (“[T]he most powerful

  evidence of a service provider’s knowledge [is an] actual notice of infringement from the

  copyright holder.”). Cox’s own records produced in discovery reveal that



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                                                               . SUF ¶¶ 32-34. Those notices

  provided further support that Cox had knowledge of specific instances of those Cox subscribers’

  infringing activities.

          The record is also clear that, when receiving infringement notices, Cox understood its

  subscribers were infringing and that they were doing so intentionally. SUF ¶ 21. As Jason

  Zabek, the head of Cox’s abuse team observed: “

                           ” Gould Ex. 15; see also id. Ex. 16 (“

                             ”); Ex. 17 (“

                                                        ”); Ex. 18

              ”).

          As the Fourth Circuit explained in BMG, “Cox created only a very limited automated

  system to process notifications of alleged infringement” and “in carrying out its thirteen-strike

  process, Cox very clearly determined not to terminate subscribers who in fact repeatedly violated

  the policy.” BMG v. Cox, 881 F.3d at 299 (emphasis added). Against this backdrop, Cox is

  clearly estopped from now contesting that it had any other intent, or that its policy, somehow,

  was adequate “as written,” not as Cox itself chose to implement it. See supra at 9 n.2.

          In the face of all of this knowledge, Cox easily could have done something to curtail

  specific instances of infringement brought to its attention. Cox had knowledge that infringement

  was substantially certain to result from its continued provision of Internet access to subscribers

  who failed to stop infringing despite repeated warnings and suspensions. Cox explicitly reserved

  to itself in its AUP the right to terminate subscribers who infringed. Yet, rather than exercise the

  that authority to stop the infringement, Cox did exactly the opposite, taking steps



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        of infringement notices it would accept and process, Gould Ex. 22, and providing a safe

  haven to specific infringers repeatedly cited in notices. SUF ¶¶ 24-31.

             2. Cox Willfully Blinded Itself to Specific Instances of Infringement

         Though Cox’s actual knowledge is more than sufficient, Cox’s willful blindness further

  satisfies the knowledge requirement for contributory infringement. See, e.g., In re Aimster

  Copyright Litig., 334 F.3d 643, 650 (7th Cir. 2003) (“Willful blindness is knowledge, in

  copyright law . . . as it is in the law generally.”) (internal citations omitted); EMI Christian Music

  Grp., Inc. v. MP3tunes, LLC, 844 F.3d 79, 91 (2d Cir. 2016), cert. denied sub nom. Robertson v.

  EMI Christian Music Grp., Inc., 137 S. Ct. 2269 (2017) (“[A]t trial the plaintiffs could prevail by

  demonstrating that [the defendant’s] failure to track users who created links to infringing content

  identified on takedown notices or who copied files from those links evidenced its willful

  blindness to the repeat infringing activity of its users.”). As this Court held, “[a] person is

  ‘willfully blind’ or engages in ‘conscious avoidance’ amounting to knowledge where the person

  was aware of a high probability of the fact in dispute and consciously avoided confirming that

  fact.” BMG v. Cox, 149 F. Supp. 3d at 673 (internal quotations and citations omitted).

         First, Cox deliberately refused to accept millions of infringement notices from

  Rightscorp. SUF ¶ 35. Second, Cox further limited rights owners to a presumptive cap of 200

  notices per day, including just 200-600 per day for the RIAA on behalf of all of the record

  company Plaintiffs. SUF ¶ 25. If Cox had not imposed these limits, it would have been charged

  with additional actual knowledge of infringement by the specific subscribers identified in notices

  from Plaintiffs and other rights owners.

         Indeed, Cox’s records shows that




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                         . SUF ¶¶ 33-34. A comparison of MarkMonitor’s infringement notices to

  the Rightscorp notices that Cox refused to accept shows that they involved some of the same

  infringing Cox subscribers. SUF ¶¶ 35-36.

         Cox’s arbitrary imposition of limits to the number infringement notices it would receive

  and process, while simultaneously looking the other way in the face of the ongoing infringement

  by known recidivist subscribers, plainly demonstrates that Cox willfully blinded itself to specific

  instances of infringement. This satisfies the knowledge requirement.

         B. Cox Materially Contributed To Its Subscribers’ Infringement

         “[P]roviding the site and facilities for known infringing activity is sufficient to establish

  contributory liability.” Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d 259, 264 (9th Cir. 1996).

  Cox’s material contribution to the infringing activity is so obvious that Cox did not even

  challenge BMG’s ability to establish this element when Cox moved for summary judgment in

  that case. BMG v. Cox, 149 F. Supp. 3d at 671 n.25.

         This Court left no doubt in the BMG case that the material contribution prong is satisfied

  here. It explained, “[t]here can be no question that the provision of high-speed internet service

  materially contributes to infringement via BitTorrent and that Cox had the means to withhold

  that assistance upon learning of specific infringing activity.” BMG v. Cox, 199 F. Supp. 3d 979

  (emphasis added). The Court determined, “[t]here cannot be any serious dispute that internet

  service is an essential component of the infringing activity.” BMG v. Cox, 149 F. Supp. 3d at

  674 (explaining that “[f]ile-sharing programs are completely dependent on the internet to

  facilitate the download and upload of files”).

         The same determination governs here. Both elements of the contributory infringement

  claim are satisfied.



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     V.      COX IS LIABLE FOR VICARIOUS INFRINGEMENT

          Cox’s conduct also renders it liable for vicarious copyright infringement because it

  “profit[ed] from direct infringement while declining to exercise a right to stop or limit

  it.” Grokster, 545 U.S. at 930. “When the right and ability to supervise coalesce with an

  obvious and direct financial interest in the exploitation of copyrighted materials—even in the

  absence of actual knowledge that the copyright monopoly is being impaired—the purposes of

  copyright law may be best effectuated by the imposition of liability upon the beneficiary of that

  exploitation.” Shapiro, Bernstein & Co. v. H. L. Green Co., 316 F.2d 304, 307 (2d Cir. 1963)

  (internal citations omitted).

             A. Cox Had the Right and Ability to Supervise Infringement

          For purposes of vicarious liability, Cox had sufficient control over its subscribers. The

  Court’s prior determination in BMG governs here:

       Cox has a contractual relationship with its users and that relationship gives Cox the
       legal right to withhold service in the face of infringing conduct. Cox also provides a
       crucial service to the infringements alleged in this case, which gives Cox the practical
       ability to stop or limit infringement.

  BMG v. Cox, 149 F. Supp. 3d at 675.

          Cox is estopped from arguing otherwise now. Indeed, even had the Court not determined

  this issue previously, the element is easily established. The “control” element is determined by

  the defendant’s “right and ability to supervise the direct infringer.” Grokster, 545 U.S. at 930

  n.9. “The ability to block infringers’ access to a particular environment for any reason

  whatsoever is evidence of the right and ability to supervise.” Napster II, 239 F.3d at 1023.

          Cox expressly retained the right in its AUP to suspend or terminate its subscribers’ access

  to Internet service, including to condition the provision of its Internet service to subscribers who

  do not use it to violate copyrights. SUF ¶ 23. If subscribers listen when Cox exercises that

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  power, the infringement stops. BMG v. Cox, 149 F. Supp. 3d at 674. If subscribers do not

  and Cox terminates their service, the infringement either stops or at least is limited. Id. Thus, in

  addition to its legal control, Cox also has the practical ability to stop or limit infringement.

  Nothing more is required to establish this element.

             B. Cox Derived A Direct Financial Benefit from Infringement

         The second element of vicarious liability requires a “causal relationship between the

  infringing activity and any financial benefit a defendant reaps, regardless of how substantial the

  benefit is in proportion to a defendant’s overall profits.” Ellison v. Robertson, 357 F.3d 1072,

  1079 (9th Cir. 2004). Here, a direct causal link exists between Cox facilitating the infringing

  activity and receiving a direct financial benefit. Dating back to the landmark case of Shapiro

  Bernstein, which the Supreme Court cited approvingly in Grokster, 545 U.S. at 930, the relevant

  question is whether the defendant has “an obvious and direct financial interest in the exploitation

  of copyrighted materials.” 316 F.2d at 307. In multiple ways, Cox obtained such direct financial

  benefit from its subscribers’ infringement.

                 1. By Not Terminating Known Infringers, Cox Obtained Revenues It Would
                    Not Have Otherwise Received, and Avoided Costs

         It is undisputed that, by not terminating the accounts of known repeat infringers, Cox

  received substantial additional subscription revenues it would not have otherwise obtained and

  avoided costs it would have otherwise incurred. Cox’s financial benefit from retaining

  residential subscribers who were the subject of three or more infringement notices from February

  2013 to November 2014 was at least                   , and its financial benefit from retaining

  residential subscribers who were the subject of five or more infringement notices during that

  same period was at least              . SUF ¶ 38. In addition, Plaintiffs’ expert Dr. Lehr has




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  testified—unrebutted by Cox—that by tolerating the infringement, Cox avoided direct

  incremental costs it would have otherwise incurred to address the infringement. SUF ¶ 39.

         Reviewing an example is instructive. Cox’s residential subscriber with the ICOMS ID of




                                           . SUF ¶ 36. In such circumstance, Cox has an obvious

  and direct financial interest in the infringement. See A&M Records, Inc. v. Napster, Inc.,114 F.

  Supp. 2d 896, 921 (N.D.Cal.2000) (direct financial benefit requires that “the defendant has

  economic incentives for tolerating unlawful behavior”), rev'd on other grounds, 239 F.3d 1004

  (9th Cir. 2001).

                 2. Cox Admitted that it Prioritized Collecting Subscription Payments Over
                    Limiting the Infringement

         Cox’s own documents demonstrate that Cox prioritized revenues from infringers’

  monthly fees over addressing its rampant infringement problem. SUF ¶ 40. Cox’s profit

  motives are starkly revealed in one email from its abuse team, reflecting the team’s decision not

  to terminate one of its repeat infringer subscribers:

                                                              Gould Ex. 55. Joseph Sikes, the

  second in command of the abuse group, similarly



                                            Gould Ex. 61.

         The examples go on. For instance, a top-level abuse engineer, Roger Vredenberg,

  presented Mr. Zabek with “

                                                  ” Mr. Zabek responded: “

             ” Gould Ex. 62. Mr. Sikes also repeatedly explained that Cox was

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                                                           Gould Ex. 63, and that a



                                                  Gould Ex. 64.

         Mr. Zabek instructed the Cox abuse team to



                                   Gould Ex. 64. He further instructed his team




                   Gould Exs. 65-67.

         By contrast, Cox did not hesitate to terminate users when its profit motives were not

  being served, i.e., for non-payment. In 2013 and 2014 alone, Cox disconnected internet service

  for almost         residential subscribers, or approximately         per month. SUF ¶ 30. In

  comparison, notwithstanding its receipt of millions of infringement notices, Cox terminated just

     subscribers in total in the same period for copyright infringement. SUF ¶ 30.

         The foregoing evidence clearly demonstrates how Cox’s economic incentives aligned

  with the known infringing activity of particular subscribers identified to Cox in infringement

  notices. They coalesced.

                 3. The “Repeat Infringer” Subscribers Were Particularly Profitable to Cox

         Cox knew that these infringing subscribers were particularly profitable. Their infringing

  activity led to higher monthly payments for Cox.




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         P2P networks often involve infringing activity. SUF ¶¶ 41, 31-36. Cases depicting the

  rampant infringement via peer-to-peer networks are legion.9 Multiple witnesses in this case also

  acknowledged that infringement is frequent on P2P networks. SUF ¶ 41. The millions of

  infringement notices to Cox provide a glimpse of the incredible scale. SUF ¶ 31-36. Such use of

  peer-to-peer networks requires substantial bandwidth, which in turn prompts customers to

  purchase higher-priced service plans. SUF ¶ 41.

         Consistent with this fact, Dr. Lehr has described that P2P usage

                                                                                . SUF ¶ 41. In other

  words, Cox financially benefitted from the infringing activity with higher monthly payments.

  Cox’s own data demonstrates that




                                   . SUF ¶ 41(e). All of Dr. Lehr’s foregoing conclusions stand

  unrebutted by Cox.

                 4. This is Precisely the Non-Ordinary Case Where Flat Periodic Payments
                    are Sufficient to Prove a Direct Financial Benefit from the Infringing
                    Activity

         Courts (including this one) have cited Ellison for the proposition that “flat periodic

  payments for service . . . ordinarily would not constitute receiving a financial benefit directly

  attributable to the infringing activity,” unless “the value of the service lies in providing access to

  infringing material.” BMG v. Cox, 149 F.3d at 676 (quoting Ellison, 357 F.3d at 1079 (quoting



  9
   See, e.g., Grokster, 545 U.S. at 918–23; Sony BMG Music Entm't v. Tenenbaum, 660 F.3d 487,
  491–92 (1st Cir. 2011); Disney Enterprises, Inc. v. Hotfile Corp., No. 11-20427-CIV, 2013 WL
  6336286, at *35 (S.D. Fla. Sept. 20, 2013).
                                                    33
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  S. Rep. 105-90, at 44 (1988)) (emphasis added)). But Ellison did not establish a fixed rule that

  charging flat fees precludes a finding of direct financial benefit. On the contrary, Ellison and the

  legislative history it quotes expressly use the word “ordinarily,” demonstrating an understanding

  that fixed payments can satisfy this element in appropriate circumstances.

         The facts in Ellison and its progeny do not remotely resemble the facts before the Court

  in this case. In Ellison, an author sued America Online, Inc. (“AOL”) because the author’s

  works were posted on an online newsgroup forum that AOL provided to its subscribers. 357

  F.3d at 1075. Pursuant to the DMCA, Ellison sent AOL an email notifying it of the infringing

  activity. Id. After that single email from Ellison went unheeded (because AOL had a non-

  working email address), Ellison filed suit. Id.

         This case is not a dispute about a single unheeded email and is precisely the non-ordinary

  case the Ellison court recognized could exist. Cox had a corporate policy and systematic practice

  to continue delivering Internet service and accepting payments from specific known infringing

  subscribers—many of whom were given multiple opportunities to cease their infringing behavior

  but refused. SUF ¶ 32. Cox has admitted repeatedly that collecting monthly subscription

  payments from these repeat infringers drove decisions not to terminate their Internet access.

  SUF ¶ 40. The record makes clear that the bandwidth needed for infringement pushed

  subscribers into pricier monthly data plans, thereby driving revenues. SUF ¶ 41. The symbiotic

  relationship between Cox’s financial interests and the infringing activity is unmistakable, and

  Cox intentionally exploited it.

                 5. The Facts Also Show That the Infringing Activity Was a Draw

         Finally, though Cox’s direct financial benefit from the infringement obviates any need to

  show that the ability to use Cox’s service to infringe constituted a draw to subscribers, that too is


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  satisfied. The law is clear that the draw need not be substantial. Here, the evidence adduced

  clearly establishes that subscribers infringed repeatedly, even after dozens of warnings and

  multiple suspensions. This shows that their use of Cox’s service to infringe was much more than

  a mere added benefit to them—indeed, it was essential to the continuation of their infringing

  activity. The sheer volume of notices—over 5 million accepted in just the Claim Period, despite

  Cox’s daily limit on notices per rights owner, along with millions of blocked Rightscorp

  notices—speaks volumes regarding how Cox’s provision of Internet access to known infringers

  helped Cox attract and retain subscribers.

     VI.        COX’S AFFIRMATIVE DEFENSES

           In its Answer, Cox indiscriminately asserted 24 affirmative defenses, largely without

  pleading any supporting facts whatsoever. Defs.’ Answer (ECF No. 21 at pp. 41–42). Since that

  time, Cox has abandoned eight. The 16 remaining defenses are addressed below. None belongs

  in this case any longer.

           A.     Defenses Seeking to Negate Elements of Plaintiffs’ Prima Facia Case Are Not
                  Affirmative Defenses (Nos. 6-11, 16, 18-20)

           Nearly half of Cox’s remaining affirmative defenses are not proper affirmative defenses

  recognized by the Fourth Circuit. By definition, “[a]n affirmative defense raises matters

  extraneous to the plaintiff’s prima facie case . . . .” Keeler Brass Co. v. Cont'l Brass Co., 862

  F.2d 1063, 1066 (4th Cir. 1988) (quoting In re Rawson Food Service, Inc., 846 F.2d 1343, 1349

  (11th Cir.1988)); see also Rice v. Rose & Atkinson, 176 F. Supp. 2d 585, 592 n.6 (W. Va. 2001),

  aff’d, 36 F. App’x 97 (4th Cir. 2002) (“[A] general defense negates an element of plaintiff's

  prima facie case, while an affirmative defense excuses the defendant’s conduct even if the

  plaintiff is able to establish a prima facie case.”) (citations and quotations omitted). Defenses

  seeking to “negate an element of the plaintiff’s prima facie case … are excluded from the

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  definition of affirmative defense” under Fed. R. Civ. P. 8(c). Keeler Brass Co., 682 F.2d at

  1066. Each so-called defense described in this section (Nos. 6-11, 16, and 18-20) speaks only to

  the elements of Plaintiffs’ claims and thus should be dismissed.

         Affirmative Defense Nos. 6 (failure to establish primary liability), 7 (lack of knowledge

  or inducement), 8 (no material contribution), 9 (substantial non-infringing uses),10 10 (no direct

  financial benefit), and 11 (no ability or right to control primary infringement) each seek to negate

  individual elements of Plaintiffs’ claims for contributory and vicarious infringement, and

  therefore are not proper affirmative defenses.

         Affirmative Defense No. 16 (lack of ownership) merely seeks to negate the basic element

  of any copyright infringement claim: Plaintiffs’ ownership of the copyrights at issue. Likewise,

  Affirmative Defense Nos. 18 (failure to timely register), 19 (misstatements or fraud in procuring

  registrations), and 20 (failure to comply with registration requirements) are not proper

  affirmative defenses because they each also seek to negate the validity of Plaintiffs’ copyright

  registrations. 17 U.S.C. § 410(c); Spin Master Ltd. v. Alan Yuan’s Store, 325 F. Supp. 3d 413,

  422 (S.D.N.Y. 2018) (“valid copyright registrations … [are] prima facie evidence of the first

  element of copyright infringement—ownership of a valid copyright.”), citing Scholz Design, Inc.

  v. Sard Custom Homes, LLC, 691 F.3d 182, 186 (2d Cir. 2012). Nor did Cox even adduce any

  evidence to support these “affirmative defenses.” SUF ¶¶ 44-46.




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     Cox’s argument as to “substantial non-infringing use” is not an affirmative defense. The
  “substantial non-infringing use” argument relates to the material contribution element of
  contributory infringement. Moreover, this Court already rejected Cox’s substantial non-
  infringing use defense. On appeal, the Fourth Circuit rejected it again, calling Cox’s argument
  “meritless.” BMG v. Cox, 881 F.3d at 306-308. Accordingly, Cox is collaterally estopped from
  relitigating that issue here.
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         B.      There Is No Basis for Cox’s Affirmative Defense of Failure to Join
                 Indispensable Parties (No. 4)

         Cox’s Answer does not provide any factual basis for its Affirmative Defense No. 4

  (failure to join indispensable parties), such as the identity or role of any alleged indispensable

  party or parties, as Rule 19 requires. See Fed. R. Civ. P. 19(a)(1) (defining a “required party” as

  a person in whose “absence, the court cannot accord complete relief among existing parties” or a

  person whose own interests would be adversely affected if he were not joined). When asked to

  identify the “indispensable parties” in its affirmative defense, Cox’s 30(b)(6) designee stated that

  he could not identify anyone, claiming only that “there may be parties that need to be joined that

  we’re not aware of yet.” Gould Ex. 67 (Delgado Tr.) at 57:20–58:14.11 Cox adduced no

  evidence to support this affirmative defense. SUF ¶ 42. This affirmative defense must fail. See

  J & J Sports Prods., Inc. v. Ramirez Bernal, No. 1:12–cv–01512–AWI–SMS, 2014 WL

  2042120, at *5 (E.D. Cal. May 16, 2014) (striking affirmative defense of failure to join a

  “necessary and indispensable party” where answer failed to provide “any factual basis” for the

  defense); Joe Hand Promotions, Inc. v. Havens, No. 2:13–cv–0093, 2013 WL 3876176, at *3

  (S.D. Ohio July 26, 2013) (same).

         C.      Cox Is Not Entitled To An Innocent Infringement Defense

         Cox has no basis for its innocent infringer defense, which “is only available if the

  infringer can prove that he or she ‘had no reason to believe that his or her acts constituted an

  infringement’.” BMG v. Cox, 881 F.3d at 313 (quoting 17 U.S.C § 504(c)(2)). Given how Cox

  proceeded both in response to MarkMonitor’s notices, and more generally, Cox’s innocent

  infringer argument is frivolous. SUF ¶¶ 22-41. Notably, the Fourth Circuit already held that the



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    Mr. Delgado is an in-house litigator at Cox who oversaw this case and the BMG case before it.
  His deposition took place one day before the close of discovery.
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  district court “correctly concluded that an innocent infringer instruction was not available to

  Cox.” Id. That ruling governs here. Cox’s conduct and the rulings from BMG preclude it from

  arguing at trial that it is an innocent infringer.

          In addition, because Cox had access to legitimate copies of Plaintiffs’ Works on which

  Plaintiffs affixed copyright notices which complied with statutory requirements, see SUF ¶¶ 47-

  48, Cox is ineligible to claim the innocent infringement defense. See 17 U.S.C §§ 401(d) and

  402(d); see also Maverick Recording Co. v. Harper, 598 F.3d 193, 199 (5th Cir. 2010) (when

  proper notices affixed, “the infringer’s knowledge or intent” is irrelevant, and innocent

  infringement defense is foreclosed “as a matter of law”).

          D.      Failure to Mitigate Damages Is Not A Proper Affirmative Defense Here

          Cox’s Affirmative Defense No. 13 (failure to mitigate damages) should be rejected. It

  concerns damages, not liability, and is inappropriate as an affirmative defense. At trial, Cox will

  inevitably present evidence and argument concerning statutory damages. But that evidence and

  argument as to what a jury should consider in assessing damages does not warrant cluttering up

  the liability phase of the case and trial with an improper “affirmative defense.”12

          In addition, Cox has no factual evidence to suggest that Plaintiffs failed to mitigate their

  damages. SUF ¶ 43. Cox’s 30(b)(6) designee stated that Plaintiffs failed to mitigate damages

  because they did not pursue actions directly against Cox’s subscribers, and because Plaintiffs did



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     Multiple courts have held a that failure to mitigate defense is invalid if the plaintiff only
  pursues statutory damages. See, e.g., Moothart v. Bell, 21 F.3d 1499, 1506–07 (10th Cir. 1994);
  Purzel Video GmbH v. St. Pierre, 10 F.Supp.3d 1158, 1169 (D. Colo. 2014); Clements v. HSBC
  Auto Fin., Inc., 2010 WL 4281697, *11 (S.D. W.Va. 2010); Arista Records, Inc. v. Flea World,
  Inc., 356 F. Supp. 2d 411, 422 (D. N.J. 2005). Plaintiffs recognize that this Court came to a
  contrary conclusion in the BMG case in denying Cox’s motion for summary judgment on
  liability, finding that “[b]ecause actual damages are relevant (as a consideration in determining
  statutory damages), so too are the actions a plaintiff took to mitigate those damages.” BMG v.
  Cox, 149 F. Supp. 3d at 677. Nevertheless, relevance and affirmative defenses are not the same.
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  not submit over 600 notices per day. Gould Ex. 67 (Delgado Tr.) at 62:13–63:2. Suing direct

  infringers is not a prerequisite to bringing secondary liability actions. See, e.g. Arista Records,

  Inc. v. Flea World, Inc., 356 F. Supp. 2d 411, 416 (D.N.J. 2005) (“Plaintiffs need not sue the

  numerous third party direct infringers in order to bring [claims for contributory and vicarious

  liability] against Defendants.”). Courts have also uniformly rejected contentions that copyright

  owners are somehow at fault for the extent of illegal downloads through online services or

  for the inability to stop it. See Grokster, 545 U.S. at 929-30 (“When a widely shared product is

  used to commit infringement, it may be impossible to enforce rights in the protected work

  effectively against all direct infringers . . . .”); Sony BMG Music Entm’t v. Tenenbaum, 672 F.

  Supp. 2d 217, 232–35 (D. Mass. 2009) (rejecting argument that plaintiffs acquiesced to

  copyright infringement by taking insufficient steps to halt file-trading).

         E.      Constitutionality of Statutory Damages Is Not An Affirmative Defense

         Finally, Cox’s Affirmative Defenses Nos. 21 (excessive damages) and 22 (violation of

  due process) should be stricken because the appropriate amount of damages is not an affirmative

  defense. Energy Intelligence Grp., Inc. v. CHS McPherson Refinery, Inc., 300 F. Supp. 3d 1356,

  1379 (D. Kan. 2018) (stating that defendant’s defense regarding due process violation of

  statutory damages “is not a proper affirmative defense”). Defenses regarding excessive damages

  can only be addressed after an award has been entered. Malibu Media, LLC v. Peterson, No. 16-

  CV-786 JLS (NLS), 2017 WL 1550091, at *6 (S.D. Cal. May 1, 2017). This is because these

  defenses raise “a question of damage calculation, rather than an affirmative defense to the

  misconduct alleged.” Id.




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                                           CONCLUSION

         For the foregoing reasons, the Court should grant summary judgment in Plaintiffs’ favor,

  and against Cox. The Court should find: (1) Plaintiffs own or exclusively control exclusive

  rights under 17 U.S.C. § 106 to Plaintiffs’ Works; (2) Cox subscribers directly infringed

  Plaintiffs’ Works; (3) Cox had knowledge of, and materially contributed to, its subscribers’

  direct infringement; (4) Cox had a right and ability to control, and obtained a direct financial

  benefit from, its subscribers’ direct infringement; and (5) Cox’s affirmative defenses fail.



  Dated: August 30, 2019                                Respectfully submitted,

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